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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

                                               §
  In re:                                       §    Chapter 11 (Subchapter V)
  FREE SPEECH SYSTEMS LLC,                     §
  .                                            §    Case No. 22-60043 (CML)
                                               §
                                Debtor.        §    Jointly Administered


                   NOTICE OF RULE 2004 SUBPOENA DUCES TECUM

       TO:     Anthony Gucciardi, by and through his attorney of record, Lynn Butler, Husch
               Blackwell, 111 Congress Ave., Suite 1400, Austin, TX 78701.

       Pursuant to Rules 2004 and 9016 of the Federal Rules of Bankruptcy Procedure and Rule

2004-1 of the Bankruptcy Local Rules of the Southern District of Texas, Melissa Haselden

(“Subchapter V Trustee”) hereby serves the attached Rule 2004 Request upon Anthony Gucciardi

(“Gucciardi”) and requests production of the documents listed in Exhibit A attached hereto.

       The Debtors must produce the requested documents listed on the Subpoena Duces Tecum

attached hereto as Exhibit A to the undersigned counsel at the offices of Jackson Walker LLP,

100 Congress Ave. Suite 1100, Austin, Texas 78701 within fourteen (14) days of service of this

Notice. Alternatively, to physical production, Gucciardi may produce the requested documents

electronically via Sharefile.

Houston, TX
Dated: March 16, 2023                       /s/ Elizabeth Freeman
                                            LAW OFFICE OF LIZ FREEMAN
                                            Liz Freeman (TX Bar No.
                                            PO Box 61209
                                            Houston, TX 77208-1209
                                            Telephone: (832) 779-3580
                                            Email: liz@lizfreemanlaw.com




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                            JACKSON WALKER LLP
                            Sean Gallagher (TX Bar No. 24101781)
                            100 Congress Ave., Suite 1100
                            Austin, TX 78701
                            Telephone: (512) 236-2014
                            Facsimile: (713) 752-4221
                            Email: sgallagher@jw.com

                            Counsel for Melissa Haselden, Subchapter V Trustee




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                               CERTIFICATE OF SERVICE

       I certify that on March 16, 2022 a true and correct copy of the above and foregoing was
served via CM/ECF to all parties registered to receive electronic notice.

                                           /s/ Elizabeth Freeman
                                           Elizabeth Freeman
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                                           DEFINITIONS

       All definitions apply throughout without regard to capitalization. Terms are defined as
follows:

       1.     The terms “and” and “or” are to be read and applied inclusively to have the broadest
reasonable meaning.

       2.      The terms “any” or “all” are synonymous and are to be read and applied inclusively
to have the broadest reasonable meaning.

        3.       “Agreement” means a contract, arrangement, or understanding, formal or informal,
oral or written.

       4.       “Auriam” refers to Auriam Services LLC and its agents, attorneys, assigns,
representatives, affiliates, businesses, entities, any individuals or entities acting in concert with it,
and any of its “insiders” as that term is defined in 11 U.S.C. § 101(31).

       5.       “Gucciardi” refers to Anthony Gucciardi and his agents, attorneys, assigns,
representatives, affiliates, businesses, entities, any individuals or entities acting in concert with
him, and any of his “insiders” as that term is defined in 11 U.S.C. § 101(31).

       6.      “Alex Jones” refers to Alex Jones and his agents, attorneys, assigns,
representatives, affiliates, businesses, entities, any individuals or entities acting in concert with
him, and any of his “insiders” as that term is defined in 11 U.S.C. § 101(31).

      7.     “Blue Ascension” refers to Blue Ascension Logistics, LLC, the warehouse logistics
company currently employed by or on behalf of PQPR.

       8.     “Communication” shall mean and include, without limitation, any documents,
telephone conversations, discussions, facsimiles, e-mails, meetings, memorandum and any other
medium through which any information is conveyed.

        9.      The terms “concerning,” “regarding,” “relating to,” “referring to,” and “arising out
of” are to be understood in their broadest sense and each means concerning, constituting,
identifying, evidencing, summarizing, commenting upon, referring to, relating to, arising out of,
describing, digesting, reporting, listing, analyzing, studying, discussing, stating, setting forth,
reflecting, interpreting, concerning, recording, including, negating, manifesting, containing,
consisting of, dealing with, comprising, or in any way pertaining to the subject matter identified,
in whole or in part.

        10.     The terms “document” or “documents” have the broadest meaning that can be
ascribed to them, including, without limitation, all final forms and all drafts and revisions of any
type of written or graphic matter, original or reproduced, and all copies thereof which are different
in any way from the original, regardless of whether designated “confidential,” “privileged,” or
otherwise restricted. Without limiting the foregoing, the term “document” includes video tapes,
films, audio tapes, electronic mail, computer disks, compact disks, books, papers, letters,
telegrams, memoranda, communications, minutes, notes, schedules, tabulations, vouchers,
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accounts, statements, affidavits, reports, abstracts, agreements, contracts, diaries, calendars, plans,
specifications, drawings, sketches, photographs, charts, graphs and other similar objects,
summaries or records of telephone conversations, and any kind of transcript, transcription or
recording of any conversation, discussion or oral presentation of any kind, and any information
stored on and reproducible in documentary form from a computer or other electronic information
storage device.

        11.     “FSS” refers to Free Speech Systems, LLC and each of its current or former
subsidiaries, affiliates, parents, predecessors and successors, legacies, divisions, departments and
operating units, funds, any Persons acting on its behalf or under its control, and its respective
advisors, attorneys, agents, directors, employees, members, partners, representatives, and staff as
well as any “insider” of FSS as that term is defined in 11 U.S.C. § 101(31).

        12.     The terms “Person” and “Persons” mean any and all natural persons, male or
female, and all types and kinds of businesses or other entities, including, but not limited to,
corporations, partnerships, joint ventures, sole proprietorships, and governmental agencies (state
or federal) or their employees.

       13.     “PQPR” refers to PQPR Holdings Limited, LLC.

        14.     The terms “you” and “your” shall mean Gucciardi as defined above. and each of its
current or former subsidiaries, affiliates, parents, predecessors and successors, legacies, divisions,
departments and operating units, funds, any Persons acting on its behalf or under its control, and
its respective advisors, attorneys, agents, directors, employees, members, partners, representatives,
and staff.

       15.     The use of the singular form of any word includes the plural and vice versa.

       16.     The past tense shall include the present tense and vice versa.
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                                         INSTRUCTIONS

       1.      In responding to these requests, furnish all information that is available to Gucciardi
regardless of whether the records are possessed directly by the company or Gucciardi’s owners,
members, agents, attorneys, employees, representatives, superiors, or investigators.

        2.     If any records cannot be produced in full, Gucciardi should produce to the extent
possible, specifying the Gucciardi’s reason(s) for its inability to produce the records in full and
stating whatever information, knowledge, or beliefs the Gucciardi has concerning the unproduced
portion.

       3.      To the extent that Gucciardi has previously produced in this case a record
responsive to the requests contained herein, it need not produce such record again in connection
with these requests.

        4.      To the extent that any of the following requests for production may call for what
Gucciardi believes to be information subject to a claim of privilege, answer so much of each
Request for Production and each part thereof as does not request, in Gucciardi’s view, privileged
information and set forth, in writing in a privilege log, with particularity, the basis for Gucciardi’s
claim of privilege with respect to the information it withholds, including the sender and recipient
of the information and the date the information was created (“Privilege Log”), and provide a copy
of the Privilege Log contemporaneously with Gucciardi’s production of the records requested in
the Requests for Production.

       5.     The scope, definitions, and instructions applicable to these discovery requests are
coextensive with the applicable sections of the Federal Rules of Civil Procedure, and each
discovery request requires the production of documents and information to the fullest extent
permitted under the Federal Rules of Civil Procedure and the Federal Rules of Bankruptcy
Procedure.

        6.     You are requested to serve copies of all responsive documents with your response
pursuant to Federal Rule of Civil Procedure 34. However, if responsive documents are
voluminous, produce the responsive documents for inspection at the office of Jackson Walker LLP,
100 Congress Ave., Suite 1100, Austin, Texas 78701. You may also produce documents
electronically to proposed counsel to the Subchapter V Trustee via email to
liz@lizfreemanlaw.com and sgallagher@jw.com.

        7.     In producing documents, please produce them in their original form. Documents
shall be produced in the same sequence as they are contained or found in their original file folder.
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                                         EXHIBIT A

                                DOCUMENTS REQUESTED

REQUEST FOR PRODUCTION NO. 1: All agreements between Gucciardi, on the one hand,

and Alex Jones, Dr. David Jones or FSS, on the other.

REQUEST FOR PRODUCTION NO. 2: Any written agreements between Gucciardi and FSS.

REQUEST FOR PRODUCTION NO. 3: Any written agreements between Gucciardi and

PQPR.

REQUEST FOR PRODUCTION NO. 4: Any written agreements between Gucciardi and Dr.

David Jones.



REQUEST FOR PRODUCTION NO. 5: All documents sufficient to show all payments made

to Gucciardi by Alex Jones, Dr. David Jones and any associated entities, including FSS.

REQUEST FOR PRODUCTION NO. 6: All internal communications or meeting minutes of

Gucciardi regarding FSS.

REQUEST FOR PRODUCTION NO. 7: All internal communications or meeting minutes of

Gucciardi regarding PQPR.

REQUEST FOR PRODUCTION NO. 8: Copies of all invoices sent by Gucciardi to FSS from

2016 to the present.

REQUEST FOR PRODUCTION NO. 9: Copies of all invoices sent by Gucciardi to PQPR

from 2016 to the present.

REQUEST FOR PRODUCTION NO. 10: All communications between Gucciardi and FSS

from 2016 to the present.

REQUEST FOR PRODUCTION NO. 11: All communications between Gucciardi and PQPR

from 2016 to the present.
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REQUEST FOR PRODUCTION NO. 12: All communications between Gucciardi and Alex

Jones from 2016 to the present.

REQUEST FOR PRODUCTION NO. 13: All documents related to any written agreements or

understandings between FSS and Gucciardi from 2016 through the present.

REQUEST FOR PRODUCTION NO. 14: All documents related to any written agreements or

understandings between PQPR and Gucciardi from 2016 through the present.

REQUEST FOR PRODUCTION NO. 15: All corporate governance documents or operating

agreements for any entities owned, in whole or in part, by Gucciardi that have done business with

Alex Jones or FSS from 2016 to the present.

REQUEST FOR PRODUCTION NO. 16: Copies of Gucciardi’s books and records from 2016

to the present.

REQUEST FOR PRODUCTION NO. 17: Copies of Gucciardi’s tax returns from 2016 to the

present.

REQUEST FOR PRODUCTION NO. 18: Copies of any tax documents provided by FSS, Alex

Jones, or PQPR to Gucciardi from 2016 to the present.

REQUEST FOR PRODUCTION NO. 19: Documents sufficient to show any and all

distributions, draws or payments of any kind or character from January 1, 2021 through the present

from or to the following individuals and companies to Gucciardi:

             o FSS;

             o PQPR;

             o Auriam;

             o

             o
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           o Blue Ascension;

           o Patrick Riley;

           o Blue Ascension;

           o Elevated Solutions 512 Group Holdings, LLC;

           o Patriot Collectibles;

           o Joseph Dalessio;

           o MRJR;

           o AEJ Holdings, Inc.;

           o AEJ Austin Holdings Logistics, LLC;

           o Alex Jones;

           o Dr. David Jones;

           o Dr. J’s Naturals; and

           o Healthy Happy Body

REQUEST FOR PRODUCTION NO. 20: Copies of any and all advances made or received to

or from any other entity or individual for the last three years.
